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                UNITED STATES BANKRUPTCY COURT
              FOR THE MIDDLE DISTRICT OF FLORIDA
                        ORLANDO DIVISION
In re:                                 Case No. 6:18-bk-07666-KSJ
                                       Chapter 7
ROWENA M. GRAY-LESLIE,

                                     PROOF OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the Order Granting Relief from

Automatic Stay (Docket Entry # 27) and any applicable exhibits attached thereto, have been

served electronically, or routed for service by U.S. Mail, to the following:

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UNITED STATES TRUSTEE (SERVED ELECTRONICALLY)
OFFICE OF THE UNITED STATES TRUSTEE
GEORGE C. YOUNG FEDERAL BUILDING
400 WEST WASHINGTON STREET, SUITE 1100
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Date: February 27, 2019                      /s/ Stefan Beuge, Esquire
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